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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                  Case No. 2:13-cr-12

 v.                                                        HON. ROBERT HOLMES BELL

 JAMES EDWARD MCGILLIS AND
 TRISCHA MARIE PHILLIPS-
 DONOVAN,

            Defendants.
 _________________________________/


                                    ORDER OF DETENTION


               Defendants appeared before the undersigned on August 28, 2013, for arraignment on

an indictment charging one count of conspiracy to manufacture, distribute and possess with intent to

distribute methamphetamine and one count of manufacturing methamphetamine. Motions for the

detention of both defendants were filed by the government prior to the hearing, supported by a

recommendation from pretrial services. Defense counsel has requested additional time within which

to prepare for a detention hearing. Therefore, IT IS HEREBY ORDERED that the defendants shall

be detained pending further proceedings. Counsel for the defendants shall contact the court when

ready to schedule a detention hearing.

               IT IS SO ORDERED.

Date: August 29, 2013                                       /s/ Timothy P. Greeley
                                                           TIMOTHY P. GREELEY
                                                           United States Magistrate Judge
